Case 2:22-cv-00081-JRG-RSP Document 7 Filed 05/16/22 Page 1 of 2 PageID #: 33




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


NETNUT LTD.,

                          Plaintiff,
                                                  Civil Action No. 2:22-cv-00081-JRG-RSP
v.
                                                  JURY TRIAL DEMANDED
BRIGHT DATA LTD.,

                          Defendant.




            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff NetNut Ltd. hereby

gives notice that the above-captioned action against Defendant Bright Data Ltd. is voluntarily dis-

missed WITHOUT PREJUDICE, with each party to bear its own costs, expenses and attorney’s

fees.




Notice of Voluntary Dismissal Without Prejudice                                      Page 1 of 2
Case 2:22-cv-00081-JRG-RSP Document 7 Filed 05/16/22 Page 2 of 2 PageID #: 34




Dated:    May 16, 2022               By:    /s/ Eric H. Findlay
                                            Eric H. Findlay (TX Bar No. 00789886)
                                            FINDLAY CRAFT, P.C.
                                            102 North College Avenue, Suite 900
                                            Tyler, Texas 75702
                                            Tel: (903) 534-1100
                                            Fax: (903) 534-1137
                                            Email: efindlay@findlaycraft.com

                                            OF COUNSEL:

                                            LISTON ABRAMSON LLP
                                            The Chrysler Building
                                            405 Lexington Ave, 46th Floor
                                            New York, New York 10174
                                            Tel: (212) 257-1630
                                            Ronald Abramson (Pro hac vice)
                                            David G. Liston (Pro hac vice)
                                            Gina K. Kim (TX Bar No. 24097937)
                                            Email: docket@listonabramson.com

                                            Attorneys for Plaintiff NetNut Ltd.




                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing document was filed electronically in compli-

ance with Local Rule CV-5(a). Therefore, this document was served on all counsel on May 16, 2022.



                                                    /s/ Eric H. Findlay
                                                    Eric H. Findlay




Notice of Voluntary Dismissal Without Prejudice                                      Page 2 of 2
